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    UNITED STATES DISTRICT COURT
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    SOUTHERN DISTRICT OF NEW YORK
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    KATHRYN TOWNSEND GRIFFIN, THE ESTATE                                                      DATE t l l r P
    OF CHERRIGALE TOWNSEND and THE HELEN
    CHRISTINE TOWNSEND MCDONALD TRUST

                                               Plaintiffs,                        ECF CASE

                                               -against-                           l 7-cv-5221 (LLS)

    EDWARD CHRISTOPHER SHEERAN, p/k/a ED                                         afRQPQSfiD]
    SHEERAN, ATLANTIC RECORDING                                                   JOINT STIPULATION &
    CORPORATION, d/b/a ATLANTIC RECORDS ,                                         SCHEDULING ORDER
    SONY/ATV MUSIC PUBLISHING, LLC, and
    WARNER MUSIC GROUP CORPORATION, d/b/a
    ASYLUM RECORDS

                                               Defendants.


                 Plaintiffs Kathryn Townsend Griffin, The Estate of Cherrigale Townsend and The Helen

    Christine Townsend McDonald Trust (collectively, "Plaintiffs") and defendants Edward

    Christopher Sheeran, Atlantic Recording Corporation and Sony/ A TV Music Publishing, LLC now

    known as Sony Music Publishing (US) LLC 1 (collectively, "Defendants") agree and stipulate as

    follows:

                 1.       A final Pre-Trial Conference shall be held on March 31 , 2023 at 10 :00 a.m.

                 2.       Jury selection will begin on ~ ) ' . Ap.il 2+,-z82~                  f~
                 3.
                                                                                            ' --=-
                          A jury trial, as to liability only• will beE5it1 e~nday, April 24, 2023);,r as sooR

    tM'C'l''t!m"ref.-i,l.S..a.,l.l..1.Q'-~..9@~egi,.pft!:~~--   In the event the jury finds in favor of Plaintiffs on liability,   L (... S

    ajury trial (with the same jury), as to damages, will begin the following business day.



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     As of January 1, 2021, Sony/ ATV Music Publishing LLC changed its name to Sony Music
    Publishing (US) LLC.
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       4.      On or before December 31 , 2022, Plaintiffs shall respond , in accordance with "Step

3" of Rule 3A of Judge Stanton's Indiv idual Rules and Practices, to the Proposed Pre-Trial Order

on Liability that Defendants furnished to them by email on October 12, 2020, which Defendants

shall update by no later than October 31 , 2022.        At the same time, Plaintiffs shall inform

Defendants whether they object to the admission into evidence of any of Defendants ' Proposed

Exhibits and, if so, the basis for such objection(s).

       5.      On or before January 31 , 2023 , Plaintiffs shall respond, in accordance with " Step

3" of Rule 3A of Judge Stanton's Individual Rules and Practices, to the Proposed Pre-Trial Order

on Damages that Defendants furnished to them by email on October 12, 2020, which Defendants

shall update by no later than November 30, 2022. At the same time, Plaintiffs shall inform

Defendants whether they object to the admission into evidence of any of Defendants ' Proposed

Exhibits and, if so, the basis for such objection(s).

        6.     On or before March 15 , 2023 , the Parties shall file a Joint Pre-Trial Order in the

form prescribed in this Court' s standing Orders.

        7.      On or before March 15, 2023, Plaintiffs and Defendants, respectively, shall file (a)

proposed voir dire questions, (b) proposed jury charges, (c) proposed verdict forms, (d) trial briefs

on contested issues of law, and (e) sworn statements executed by any expert witnesses,

summarizing his or her education and professional background and his or her direct testimony, as

well as reference to any documents or sources on which the expert(s) intend to rely . The expert

sworn statements will comply with this Court' s Orders of March 24, 2020 and August 18, 2020.

        8.      No extensions of these deadlines will be allowed, except upon a showing of good

cause not foreseeable at the date of this Joint Stipulation.

Dated: October 26, 2022



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PRYOR CASHMAN LLP                              FRANK & RICE, P;A.

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